Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 1 of 50 PageID #: 803




        EXHIBIT 2
    Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 2 of 50 PageID #: 804

Inclusive Teacher Recruitment & Hiring Toolkit




Inclusive Teacher
Recruitment &
Hiring Toolkit




NYC Department of Education
Office of Teacher Recruitment and Quality
Division of Human Resources
     Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 3 of 50 PageID #: 805

Inclusive Teacher Recruitment & Hiring Toolkit


“Three years ago we decided to invest in inclusive hiring. We learned to be as unbiased as
 possible and ended up choosing an incredible teacher, still with us, who we would never
 have found without this process. At this point, the impact on our students has been profound.
 Students have more teachers they connect with—from race and gender to life experiences.”
                                                                                                              —NYC DOE Principal
Introduction
Great schools begin with great hires. The people in                    of New York City students are students of color.
our buildings are the very definition of the community                 Students taught by teachers who look like them, who
we create, and the choices we make during the                          share similar identities, benefit in profound ways.
hiring process—from recruiting the right candidates,                   They are less likely to drop out of high school, more
to identifying the best fit, to sustaining that fit once               likely to aspire to college, and more likely to graduate
selected—offer the single most powerful opportunity                    on track. Similarly, educators who look like their
we have as leaders to shape our schools.                               students are more likely to stay with their school,
                                                                       leading to a teaching force with greater tenure and
Unfortunately there is no single answer to what
                                                                       expertise. To be direct, if you are not actively seeking
makes a potential hire a “fit” for your school. Great
                                                                       to hire inclusively you are not building the strongest
educators come in impossibly varied guises, with
                                                                       community possible—and the students you serve are
impossibly varied backgrounds. But what a new
                                                                       missing out.
generation of research makes clear is that in a
culturally diverse world, hiring a culturally diverse                  But just like hiring in general, inclusive hiring is
staff is a fundamental need, standing alongside                        not easy. It won’t happen by accident. This toolkit
strong curriculum, high expectations, and a deep                       presents a series of practices designed to rejuvenate
sense of belonging as an imperative job of a                           your hiring process. It was designed by principals
principal. Diversity (i.e., race, culture/ethnicity, gender            and teachers for principals and teachers, combining
identity, disability, sexual orientation, etc.) is not                 research on bias, expertise from HR professionals,
a bonus, nor an afterthought, nor a performative                       with systems used by some of the city’s most expert
gesture toward an ideal world, but instead is a                        educators. We believe it will allow you to actively
crucial, often-overlooked lever you must engage to                     seek out the best candidates to meet the needs of
build a strong school community. Eighty-five percent                   New York City’s magnificent array of students.



                                                                                                       !
This guide offers:
  Tools to outline and standardize the                                       Looking to Start Right Now?
   recruitment process                                                        Before implementing Stages 1- 6 of
  Best practices to support inclusivity and                                  the recruitment and hiring process, we
   promote a school culture of belonging                                      recommend taking the Inclusive Teacher
  Differentiated hiring process timelines to                                 Recruitment & Hiring Self-Assessment
   be modified for your school context                                        to identify focus areas to guide your
  Strategies to mitigate bias throughout the                                 engagement with the resources. After
   interview and selection process                                            completing the assessment individually,
  Resources for further learning                                             principals can share the tool with hiring
                                                                              committee members.


Developed by Eskolta School Research and Design and the Center for Black Educators for the NYC Department of Education, Office of
Teacher Recruitment and Quality (TRQ)                                                                                               1
     Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 4 of 50 PageID #: 806

Inclusive Teacher Recruitment & Hiring Toolkit




Initiative Overview
HIRING PROCESS REFERENCE TABLE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
Keep this table handy as a reference while you develop your recruitment and hiring
processes.

STAGE 1 | ASSEMBLE A DIVERSE HIRING COMMITTEE. . . . . . . . . . . . . . . . . . . . . 4
Build your team. Actively seek the perspectives of diverse stakeholders to form a hiring
committee representative of your school community.

STAGE 2 | EXAMINE YOUR CURRENT PRACTICES & ENVIRONMENT. . . . . . . . . . 10
Reflect before you act. Assess your school’s current hiring practices to identify areas of
improvement and ways to increase inclusivity and belonging.

STAGE 3 | MAP YOUR RECRUITMENT & HIRING PROCESS . . . . . . . . . . . . . . . . . 13
Organize your process. Review best practices and prompts to define your school’s
recruitment needs and projected timeline.

STAGE 4 | CREATE A STANDARDIZED REVIEW & INTERVIEW PROTOCOL. . . . . . . 20
Give every candidate the same experience. Explore best practices for assessing the
quality of your candidate pool accurately, including sample tools for standardizing your
interviewing process.

STAGE 5 | SOURCE, REVIEW, & INTERVIEW CANDIDATES. . . . . . . . . . . . . . . . . . 26
Get started hiring. Use your standardized protocol to mitigate bias-driven decision
making and ensure new hires meet student and school needs.

STAGE 6 | ENGAGE & ONBOARD NEW HIRES. . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
Welcome new hires to your building. Provide the new candidate with a welcoming,
engaging, and affirming place within your school.




Developed by Eskolta School Research and Design and the Center for Black Educators for the NYC Department of Education, Office of
Teacher Recruitment and Quality (TRQ)

                                                                                                                                    2
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 5 of 50 PageID #: 807



Hiring Process Reference Table
PREREQUISITE:               Inclusive Teacher Recruitment & Hiring
                             Self-Assessment
SELF-ASSESS
1 hour in early March

STAGE 1 | ASSEMBLE        Tools:                                        Readings:
A DIVERSE HIRING            Self-Paced Module for Inclusive
                             Teacher Recruitment & Hiring
                                                                          Fact Sheet: A Diverse Teaching Force
                                                                           Matters
COMMITTEE                   Inclusive Teacher Recruitment & Hiring       Common Understanding:
                             Self-Assessment                               Unconscious Bias & Hiring
2-3 weeks
                            Guiding Questions: Forming an                Implicit Bias and Culturally
March
                             Inclusive Hiring Committee                    Responsive Environments
                            Template A: Action Plan for Establishing
                             the Work of the Hiring Committee

STAGE 2 | EXAMINE YOUR    Tools:                                        Readings:
CURRENT PRACTICES &         Inclusive Teacher Recruitment & Hiring
                             Self-Assessment (share with hiring
                                                                          Common Understanding:
                                                                           Unconscious Bias & Hiring (share with
ENVIRONMENT                  committee)                                    hiring committee)
                            Equitable Hiring Tool                        Emtrain
2 weeks
March/April

STAGE 3 | MAP YOUR        Tools:                                        Reading:
RECRUITMENT & HIRING          Template B: Hiring Process Timeline        Inclusive Teacher Recruitment & Hiring
                                                                           Initiative homepage
                              Recruitment Checklist
PROCESS                       Checklist: Resume Review
1-2 months                    Equitable Hiring Tool
April-May

STAGE 4 | DESIGN A        Tools:                                        Reading:
STRUCTURED INTERVIEW          Structured Interviewing Guide              OPM Structured Interviews: A
                                                                           Practical Guide
                              Checklist: Recruitment
PROCESS                       Checklist: Resume Review
1-2 months                    Equitable Hiring Tool
May-June

STAGE 5 | BEGIN HIRING:   Tools:                                        Readings:
SOURCE, REVIEW, &           Structured Interviewing Guide                Forbes and Workable articles: How
                                                                           Bias Can Affect Recruitment
                            Checklist: Recruitment
INTERVIEW CANDIDATES        Checklist: Resume Review                     OPM Structured Interviews: A
                                                                           Practical Guide
2-3 months
                                                                          Employee Selection Procedures
June-August

STAGE 6 | ENGAGE &        Tools:                                        Readings:
ONBOARD NEW HIRES           Onboarding Grab & Go                         Tips for Onboarding New Teachers
                            Elements of Onboarding: Priority Steps       The NYCDOE New Teacher Mentoring
Ongoing                      and Key Resources                             website
                          To share with new teachers:                     New Teacher Instructional Mentoring
                              New Teacher Toolkit                         Guide for Principals
                              HR Checklist                               Collaborative Learning Through Peer
                                                                           Inter-visitations Toolkit
                              HR Roadmap
                              Register for New Teacher Week
                              Register for ITeachNYC

                                                                                                                   3
      Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 6 of 50 PageID #: 808



     1                          2                         3                 4                    5                     6
 Assemble a               Examine Your               Map Your      Create a Standardized   Source, Review,      Engage & Onboard
Diverse Hiring          Current Practices         Recruitment &     Review & Interview       & Interview           New Hires
  Committee              & Environment            Hiring Process          Protocol           Candidates




 STAGE 12 |
                                                                                     Tips to Mitigate Bias
                                                                    DO: Consider and uplift the perspectives of students,


 Examine your
 Assemble   a Diverse
                                                                    parents and guardians, and staff members in the
                                                                    department gaining new hires.



 CurrentCommittee
 Hiring  Practices
                                                                    AVOID: Creating a hiring committee of “like-
                                                                    minded” or otherwise similar individuals (e.g., all
                                                                    administrators).


 and Environment
                                                                    Hiring for diversity (i.e., race, culture/ethnicity,
                                                                    gender identity, disability, sexual orientation, etc.) is
                                                                    the work of a team, not an individual. While a strong
                                                                    leader can hold a vision for their building, even the
                  Quicklook:
                  Quick  look:                                      most determined does not contain the multiple
                                                                    perspectives, experiences, and forms of expertise
                                                                    that define their community. Your hiring committee
                                                                    will be the leading face of your school for outreach,
                 What is the purpose of                             directly representing your school to prospective
                 this stage?                                        candidates as you recruit and interview them. At
                 Assemblecurrent
                 Examine     a hiringhiring
                                       teampractices
                                              that will             the same time, because their decisions will impact
                 and schooldiverse
                 represent     cultureperspectives
                                        to identify                 the entire school community, committee members
                 necessary
                 and  form theshifts
                                 bedrock
                                     to promote
                                            of the                  will take an inevitable role in selling those decisions
                 inclusivityhiring
                 inclusive   and belonging
                                   process in your
                                                                    to others. It is therefore critical to assemble your
                 building
                 When should it be used?                            hiring committee with care: finding members who
                 Whenrecruiting
                 Before should and
                                it be  used?
                                    interviewing                    understand your community and are committed to an
                 Before recruiting and interviewing
                 candidates.                                        inclusive search that will find the best candidate.
                 candidates
                 Who should be involved                             In this stage you will build:
                 Who
                 at thisshould
                         stage? be involved
                                                                       A diverse hiring committee that includes
                 at this
                 Hiring  stage? Principal,
                        Committee,                                      stakeholders from across your community
                 Assistant Principal(s)
                 Principal, Assistant Principal(s)
                                                                       A shared vision of success, ensuring all
                 Resourcepoint
                 Starting to Consider                                   members understand the value of a diverse
                 Inclusive Teacher
                 Structured  Interviewing
                                    Recruitment
                                          Guide &                       staff
                 Hiring Self-Assessment                                Roles and responsibilities for members of the
                                                                        committee to carry out the hiring process


                                                                                                                            4
    Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 7 of 50 PageID #: 809

Inclusive Teacher Recruitment & Hiring Toolkit




Use Active Outreach to Build a                           Am I considering my team’s mindsets?
Committee with the Best Members                           How would members of my hiring committee
Your hiring committee need not be large or difficult       explain why diversity (i.e., race, culture/ethnicity,
to manage. We recommend small teams with 3–6               gender identity, disability, sexual orientation, etc.)
members. Team members do need, however, the                matters for our students?”
skills necessary to work collaboratively and hear the
                                                          What am I doing to assess my team’s mindsets?
underrepresented voices of staff in their schools. Use
                                                           How would I know if the members of my hiring
the guiding questions below to consider the interest
                                                           committee understand their social identities
levels, mindsets, and workloads of prospective
                                                           (e.g., their race, culture/ethnicity, gender identity,
members, then actively go after the “dream team”
                                                           disability, sexual orientation, etc.) and how their
that will best fill your committee.
                                                           identities contribute to our community?
Do I know who is interested?
  Have I shared the opportunity to participate in the
   hiring committee with my staff?                               Mindset Work Begins at Home
  Have I provided opportunities for other                   As you consider your team’s mindset, make
   stakeholders to express their interest in                 sure you are also examining your own. Use
   participating?                                            the Inclusive Teacher Recruitment & Hiring
                                                             Self-Assessment to evaluate your readiness
  If I identified potential committee members, did          to engage in this work, as well as locate
   I speak with them to confirm their interest and           additional resources that will help build
   enthusiasm for participating?                             a stronger, more inclusive culture in your
                                                             building.


                                                                                                                    5
    Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 8 of 50 PageID #: 810

Inclusive Teacher Recruitment & Hiring Toolkit


“By including students, we are gaining                  Do the people on my team have the bandwidth to
                                                        do the work?
 insight on their needs as learners who are               Do the members of my hiring committee have the
 taking accountability for their experiences               time to take on this work?

 in the classroom.”                                       Have I repeatedly asked the same staff members
                                                           to take on extra responsibilities? Could my own
                —Member of a NYC Hiring Committee          bias be informing who I usually “go to”?

                                                          Are there responsibilities I can shift, or duties I
How can I ensure diverse representation?                   can lighten to allow a high leverage community
                                                           member to participate? Can per session funds be
  Do the members of my hiring committee
                                                           allocated to support this work?
   represent different identities, backgrounds, and
   skill-sets?                                            Have I cleared a set time when hiring committee
                                                           members can engage in their work together?
  Am I actively trying to recruit teachers from
   diverse backgrounds so that our teaching               If I determine that my teaching staff is struggling
   staff better reflects our student population? Is        with bandwidth, how can I add in voices from the
   someone from the same background on my                  community—such as parents, caregivers, and
   hiring committee?                                       students—who do have the time to join?
  Does my hiring committee include teachers?             Have I considered using tools like video
                                                           recordings of interviews and demo lessons to let
    Of different grades / subjects?
                                                           committee members weigh in asynchronously?
    In grades / subjects with anticipated vacancies?

  Does my hiring committee include other
   stakeholders, such as students, families, school
   staff, and members of community-based
                                                                                    Fact
   organizations?                                           A Black male student who has at least
                                                            one Black teacher in 3rd, 4th or 5th grade
  How would the members of my hiring committee             is significantly less likely to drop out of
   explain the goals of our community to an                 high school and significantly more likely
   outsider? Would they be in alignment?                    to aspire to attend a four-year college or
                                                            university (Gershenson et al, 2017).1
  Does the hiring committee have the appropriate
                                                            1. Seth Gershenson, Cassandra Hart, Constance Lindsay,
   subject matter experts available to assess
                                                               and Nicholas Papageorge, “The Long-Run Impacts of
   quality, skill, and potential during the                    Same-Race Teachers,” IZA discussion paper 10630,
                                                               2017.
   interviewing process? If not, how can I get that?

Does my team have influence?
  How do I know if the members of my hiring
   committee have influence in the broader school
   community?

  If we adopt new practices, will my committee
   be able to help build buy-in and enthusiasm?

  Can the members of my hiring committee
   advocate for underrepresented groups?

                                                                                                                     6
    Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 9 of 50 PageID #: 811

Inclusive Teacher Recruitment & Hiring Toolkit


Create a Common Understanding of                           Clearly Define Roles, Responsibilities,
Success                                                    and Process
Creating a shared knowledge base and vision is a           Teams succeed or fail based on the ability to work
foundational step for collaboration that should come       together. Take a moment to define the roles on your
before any recruitment or hiring activities. Take time     hiring committee and outline the routines that will
to build background in the “whys” and “hows” of            define those roles. It is important to consider all
inclusive hiring. Begin by making a list of the training   stakeholders in the recruitment and hiring process,
and resources that have been most helpful for              and decide who on the team will be responsible for
your own personal development as a practitioner            what. As the leader of your team, you can support
of inclusive hiring. Consider using this powerful          their work by establishing and managing meeting
explainer, Fact Sheet: Diverse Teaching Matters, to        times, delegating tasks, and allocating resources.
root your team in the urgency of this work. Finally        Below is a list of guiding questions to support both
take a moment to assess the readiness of your team         the learning and logistic needs of your team:
to do this work using the following questions:
                                                           Are we clear on who will be making decisions?
Are we all on the same page in terms of a vision of          Start by defining decision-making authority and
inclusive hiring?                                             explaining how hiring decisions will ultimately be
  Do hiring committee members understand the                 made.
   value of creating inclusive hiring and recruiting
                                                               How will decisions be made throughout
   practices?
                                                                the process? (e.g., by consensus, by
  Do they have a shared sense of purpose related               recommendation to an approver, by the school
   to that understanding?                                       leader after considering all input)?

  Are they prepared to engage in a collaborative              Who makes the final hiring decision? If there is
   process and protocol creation (e.g., creation of             a final approver, who is that person? When and
   job descriptions, interview questions, etc.)                 how will they be included in the process? Are
                                                                there decisions that can be made without their
Do we need any additional professional
                                                                participation? If so, how are those defined?
development to support our work?
                                                           Does everyone know their roles and
  Have hiring committee members participated in
                                                           responsibilities?
   implicit bias training?
                                                             Have you clearly identified and assigned all roles
  Have hiring committee members engaged in any
                                                              and responsibilities associated with this work?
   professional development related to designing
   and implementing inclusive hiring processes?                Who will set meetings and create agendas?

  Are hiring committee members grounded in the                Who will be responsible for drafting key
   basic legal considerations of hiring? (E.g., do              documents (e.g., timelines, recruiting materials,
   they know it is illegal to ask about marital status,         job descriptions, resume review protocols,
   or raise concerns about a pregnancy during a                 interview questions and rubrics, emails to
   debrief?)                                                    candidates, etc.)?

Once you have created your list of training and                Who will represent your school at hiring fairs?
resources, connect the items on the list with the
                                                               Who will review resumes? And/or conduct
names of team members who might benefit from
                                                                interviews with candidates?
them. Then highlight the 1-3 most important
resources for the whole team, and plan how you will            Who will be the primary point of contact for
ensure your team accesses them.                                 candidates and keep them engaged?
                                                                                                                   7
      Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 10 of 50 PageID #: 812

Inclusive Teacher Recruitment & Hiring Toolkit



Template A
Action Plan for Establishing the Work of the Hiring Committee

                  Click here to download and customize to your needs*



                                                   Actions                                        When?       Who?
                            1. Share the opportunity to participate in the hiring committee
                               with your staff, as well as your vision for the inclusive
                               community that will result from continued effort in this work.
                               a. Announce at all-staff meeting.
                               b. Send details in a clear email with deadline for expressing
                                  interest and link to survey.
                               c. Reinforce announcement in department meetings.
                               d. Send reminder email two days prior to deadline.
                            2. Review potential committee members and seek input from
   Identify Members




                               your assistant principal(s).
                               a. Consider the perspectives and stakeholder groups
                                  represented in your committee.
                               b. If you are actively trying to recruit teachers so that our
                                  teaching staff better reflects our student population, ensure
                                  the hiring committee includes people of that background
                                  on it.
                            3. Identify potential members and speak with them to confirm
                               their interest and enthusiasm for participating.
                               a. Communicate estimated time per week needed for hiring
                                  committee meetings and independent work.
                               b. Confirm this aligns with potential member’s current
                                  workload.
                               c. Consider leveraging the Peer Recruiter program to support
                                  your overall hiring process.

                            1. Invite confirmed hiring committee members to a welcome
   Create a Shared Vision




                               meeting and ask them to take the Self-Paced Module for
                               Inclusive Teacher Recruitment & Hiring.
                            2. Outline the purpose of the committee and share key
                               takeaways from the self-paced module to begin grounding
                               your team in the “why.”
                            3. Share how you hope revising hiring practices will impact your
                               students, staff, and school.
                            4. Draft a vision statement with your team to guide your work.



                                                                                                     Continued on next page
*Google login required                                                                                                   8
            Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 11 of 50 PageID #: 813

Inclusive Teacher Recruitment & Hiring Toolkit



                                                                  Actions                                         When?              Who?
                                         1. Identify owners and support persons for the following roles:
Development Opportunities Define Roles

                                            a. Main candidate contact-person,
                                            b. Interview Calendar owner,
                                            c. Drafter(s) of candidate communication,
                                            d. Drafter(s) of onboarding materials and event plans.

                                         1. Invite committee members to take an IAT (Implicit Association
                                            Test) to build awareness around their own implicit biases.
   Assign Professional




                                         2. Reflect on your learnings from the Self-Paced Module and
                                            share important takeaways with your team.
                                         3. Identify time for committee members to complete the Self-
                                            Paced Module for their knowledge building and assign as
                                            appropriate.
                                         4. Identify NYCDOE PDs to support inclusive hiring and assign as
                                            appropriate.



                                         1. Plan recruitment steps:
Determine Work




                                            a. Identify hiring events.
  Processes




                                         2. Plan interview steps:
                                            a. Resume collection,
                                            b. Number and format of interviews,
                                            c. Evaluation protocol.
                                         3. Identify who will make final decision for hires.




              External Resources
   Inclusive Teacher Recruitment & Hiring Self-Paced                                       Peer Recruiter Program. Peer Recruiters are current
    Module. A online learning tool with tips, advice, and                                    NYCDOE teachers that serve as hiring ambassadors
    resources for reflecting on inclusive hiring.                                            for their school. From March through September, Peer
                                                                                             Recruiters receive training from the Office of Teacher
   Implicit Bias Awareness Workshops. Over the past                                         Recruitment and Quality, represent their schools at
    three years, over 70,000 NYC educators have attended                                     hiring events, help manage hiring committees, and
    the Implicit Bias Awareness foundational workshop.                                       support their principal with the recruitment of future
    Click for more information on how you and your hiring                                    colleagues!
    committee can sign up.


                                                                                                                                                      9
     Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 12 of 50 PageID #: 814



     1                        2                       3                   4                     5                     6
 Assemble a              Examine Your              Map Your      Create a Standardized   Source, Review,       Engage & Onboard
Diverse Hiring         Current Practices        Recruitment &     Review & Interview       & Interview            New Hires
  Committee             & Environment           Hiring Process          Protocol           Candidates




                                                                  Students taught by teachers who look like
 STAGE 2 |                                                        them, who share similar cultural identities,
 Examine your                                                     benefit in profound ways. They are less
                                                                  likely to drop out of high school, more
 Current Practices                                                likely to aspire to college, and more likely

 & Environment                                                    to graduate on track (Learning Policy
                                                                  Institute, 2018).



                                                                  If you have not thought about the environment
                 Quick look:                                      you are hiring people into—where your community
                                                                  fosters inclusivity and belonging, and where it fails
                                                                  to live up to your ideals—you will almost certainly hit
                                                                  roadblocks as you confront your limitations. More
                 What is the purpose of                           challengingly, without taking a hard look at your
                 this stage?                                      current practices, you are at risk of falling backward
                 Examine current hiring practices                 and lowering morale when these limitations result
                 and school culture to identify                   in lower retention of underrepresented groups. We
                 necessary shifts to promote                      believe this analysis will be most effective if done
                 inclusivity and belonging                        collaboratively with your hiring committee, and that
                                                                  if done in the spirit of honest introspection, it will pay
                 When should it be used?
                                                                  dividends at every step of the process.
                 Before recruiting and interviewing
                 candidates.
                                                                  In this stage you will:
                 Who should be involved
                                                                    Examine how unconscious bias has shown up
                 at this stage?
                                                                     in past hiring processes
                 Hiring Committee, Principal,
                 Assistant Principal(s)                             Reflect on where it may currently still impact
                                                                     your process
                 Starting point                                     Identify practices to help you reflect and
                 Inclusive Teacher Recruitment &                     create an affirming experience for all staff and
                 Hiring Self-Assessment                              candidates



                                                                                                                          10
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 13 of 50 PageID #: 815

Inclusive Teacher Recruitment & Hiring Toolkit


Examining Types of Biases                                       “As a Latina woman, I did not have any
Bias can show up in the hiring process without those
responsible for hiring realizing it. It is thus important
                                                                 Latino teachers or administrators and
to deliberately design hiring processes and practices            in many ways felt like an outcast. Now
that actively mitigate it. This will not only promote
inclusivity but also help to identify candidates who
                                                                 having a Black principal and assistant
are truly the best match for your school. Consider the           principal in my school community, I see
following definitions of common forms of unconscious
bias as you reflect on current hiring practices:                 our students feel empowered. It is such a
                                                                 beautiful thing.”
     Affinity Bias: The propensity to like and be
                                                                                                —NYC Peer Recruiter
     drawn to people who share similar traits,
     backgrounds, interests (e.g., race, gender,
     sexual orientation, hometown, educational
     background, love of sports, etc.). (“I felt                                        Fact
     comfortable around Mark the minute he told                     Students of all races report positive
     me he had served in the Peace Corps too.”)                     perceptions of educators of color.
                                                                    Students of color reported being more
     Confirmation Bias: The tendency to make
                                                                    motivated by teachers of color, while
     conclusions about someone based on                             white students felt academically
     pre-existing beliefs about them, drawn from                    challenged and cared for (Learning
     personal beliefs or prejudices, then focusing                  Policy Institute, 2018).
     on information that matches that belief. (“I
     thought Michelle might be a little prim based
     on her blouse. And did you see her snooty
     answer to our first question?”)                            Bias and the Hiring Process
                                                                There are many ways bias can show up in recruitment
     Halo Effect: Making generalized conclusions
                                                                and hiring. The resources in this toolkit are designed
     about someone based on hearing something
                                                                to mitigate bias at every stage, providing best
     impressive about them; conversely, drawing
                                                                practices and actionable templates to promote
     negative conclusions about someone
                                                                inclusive processes. For more extensive information
     based on a single data point, which may
                                                                about unconscious bias, see the Unconscious Bias &
     be insignificant or inaccurate.1 (“Wow, Ray
                                                                Hiring guidance sheet.
     speaks fluent Spanish and Italian? I bet that
     guy is some sort of genius.”)

     Conformity Bias: Saying or doing something
     that goes against your own judgment in order
     to conform with the group. People may be
     especially likely to conform to the opinion of
     someone in a higher position of power. (“Just
     like everyone else said before me, I have no
     reservations and think James Smith will be
     an excellent addition to our staff.”)
     1. https://www.teachaway.com/recruitment/blog/inclusive-
        hiring-removing-bias-teacher-hiring



                                                                                                                   11
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 14 of 50 PageID #: 816

Inclusive Teacher Recruitment & Hiring Toolkit


Examining Your School Environment                             Examining Past Hiring Practices
These questions support an analysis of your school            It is also important to analyze the policies, practices,
environment. Consider the following as they apply to          values and culture in your school. Consider the
your school or team:                                          following:

  Conflicts – Are there instances, both minor and              Objectivity – Have hiring practices and decisions
   severe, where prejudices or hostile remarks                   been grounded in tradition, or are they grounded
   have impacted the work environment or certain                 in objective criteria? Do you have any tools like
   individuals?                                                  rubrics or interview questions from previous hires
                                                                 you can refer to that are grounded in objectivity?
  Complaints – Do workplace related complaints
   involve issues of discriminatory behavior?                   Teacher voice – Have you listened to feedback
                                                                 from current teachers about their experience with
  Turnover rates – Are they higher for staff from
                                                                 your school as they were being hired? Can you
   underrepresented backgrounds? Do they shift
                                                                 identify growth points?
   between departments or span the entire staff?
                                                                Outreach barriers – Have there been barriers
  Low morale – Are there indicators of hostility
                                                                 in the recruitment process that prevented the
   among teachers and staff? Are there programs
                                                                 building of a diverse (i.e., race, culture/ethnicity,
   implemented by administration that discriminate
                                                                 gender identity, disability, sexual orientation, etc.)
   or do not foster inclusion of members of the
                                                                 candidate pool?
   school community as a whole?
                                                                Replicable successes – If there was a diverse
  Non-Inclusive policies – Are there policies
                                                                 (i.e., race, culture/ethnicity, gender identity,
   or practices within your school that create
                                                                 disability, sexual orientation, etc.) candidate
   barriers or (would) disproportionately impact
                                                                 pool for this role previously, can you identify
   underrepresented staff members (i.e., race,
                                                                 and replicate relevant steps taken during the
   culture/ethnicity, gender identity, disability, sexual
                                                                 recruitment process to achieve similar results?
   orientation, etc.)?
                                                                Traditions and Preferences – What were the
                                                                 qualities and backgrounds of your previous
                                                                 hires? Did they have things in common? Were
                                                                 the qualities and backgrounds they brought
                                                                 required for the role, or were they unrelated
                                                                 to the position? Do any align with leadership
                                                                 preference and/or school tradition to indicate an
                                                                 unconscious bias?




    External Resources
  Management Center’s guide on Preference, Tradition,          Emtrain also offers many resources and tips on how
   and Requirements offers guidance for examining your           to effectively build a healthy, strong, and sustainable
   preferences and traditions.                                   workplace culture, including categorizing acceptable
                                                                 and unacceptable behavior on a color spectrum.
  Ideal’s tips for diversity hiring provide a reference to
   learn more about examining your data.




                                                                                                                       12
     Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 15 of 50 PageID #: 817



     1                        2                      3                    4                    5                   6
 Assemble a              Examine Your              Map Your      Create a Standardized   Source, Review,     Engage & Onboard
Diverse Hiring         Current Practices        Recruitment &     Review & Interview       & Interview          New Hires
  Committee             & Environment           Hiring Process          Protocol           Candidates




                                                                                     All about balance
 STAGE 3 |                                                        The longer these stages take, the fewer qualified
                                                                  candidates remain in the pool. This is known as

 Map Your                                                        “talent pool decay,” and it means that a lengthy
                                                                  recruitment process tends to negatively impact


 Recruitment &
                                                                  the number of candidates from diverse (i.e., race,
                                                                  culture/ethnicity, gender identity, disability, sexual
                                                                  orientation, etc.) communities. A good starting point

 Hiring Process                                                   for developing your timeline is to try and balance
                                                                  your need for professional development and the
                                                                  bandwidth of your staff alongside the push to move
                                                                  things quickly.




                 Quick look:                                      Investing time to map your recruitment process will
                                                                  smooth every step to come. A clear timeline allows
                                                                  you to foresee potential obstacles and allocate staff
                                                                  time. At the same time, by outlining expectations
                 What is the purpose of                           at every stage, you will provide candidates with
                 this stage?                                      a thoughtful, streamlined experience that avoids
                 Create a timeline with projected                 missteps in communication. At the end of this section
                 checkpoints and stages to guide                  there are two sample timelines for a 3- and 9-month
                 your hiring process                              process. They are a resource to springboard your
                                                                  planning ideas, not prescriptive suggestions and we
                 When should it be used?
                                                                  invite you to customize the steps to your needs!
                  ❖ Pre-budget release
                  ❖ After the hiring committee is
                    assembled                                     In this stage you will:
                  ❖ Before recruiting and
                                                                    Create a roadmap of the entire recruitment and
                    interviewing candidates
                                                                     hiring process by calendarizing tasks
                 Who should be involved                             Identify which committee member will
                 at this stage?                                      complete each task
                 Hiring Committee, Principal,
                 Assistant Principal(s)




                                                                                                                       13
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 16 of 50 PageID #: 818

Inclusive Teacher Recruitment & Hiring Toolkit


Create your Process Map and Timeline
Steps
When outlining your process map, dedicate a
meeting with your hiring committee to weigh their
perspectives in your decisions. Be responsive to
committee members’ schedules and workloads to
create a map that reflects your actual capacity rather
than an ideal. This type of communication will also
create buy-in and authentic commitment to action
from each member.


How to Use These Examples
Each timeline below represents a possible school
context. After sharing the following examples with
your team and choosing the timeline that feels
aligned to your needs, customize the process map as
you plan your school-specific protocol. You should
feel empowered to modify each timeline to meet the
capacity of your team and add tasks to support their
workflow. When identifying a process that supports
your needs, consider how DOE-wide structures
may impact your practices. For example, everything
before Stage 4 can be reasonably implemented
before budgets are released.




                                                                                    14
    Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 17 of 50 PageID #: 819

Inclusive Teacher Recruitment & Hiring Toolkit



Recruitment Checklist

        Click here to download and customize to your needs*



Job Title: ___________________________________________

Date: ___________________

Plan and Prepare
  Assemble diverse hiring committee
  Examine biases of the hiring committee, including principal and other administrators
  Map and review recruitment history for position
  Create recruitment timeline
    Consider model 9- and 3-month timelines and adapt to your needs

Create Job Description
  Perform position analysis
    What qualifications, mindsets, and past experience led to success in the past?
    What was ineffective in the past?
    What is the input from teachers or staff members currently in the department?
    What is the feedback from students in this class/subject?
  Craft updated job description
  Review job description to avoid bias in language, job duty requirements, or education requirements

Develop Outreach & Recruitment Plan
  Develop advertising plan
    Internal advertising
    External advertising
  Develop outreach plan
    Internal outreach
    External outreach
      Plan for participation in hiring fairs, if applicable

Create Standardized Review and Interview Protocol
  Develop evaluation tools that are criteria-based to mitigate bias
  Write interview questions that draw on candidates’ previous experience in alignment with needs of role

Re-examine Recruitment Timeline
  Determine when all applications must be submitted for resume review
  Schedule calendar blocks for conducting interviews that coordinate with hiring committee members’
   schedules




*Google login required                                                                                      15
    Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 18 of 50 PageID #: 820

Inclusive Teacher Recruitment & Hiring Toolkit



Hiring Checklist

       Click here to download and customize to your needs*



Job Title: ___________________________________________

Date: ___________________

Set Up Candidate Communication Systems
  Identify go-to contact person for candidates
  Create communication timeline
    Respond to candidates within ___ days of receiving resume
    Review interview scoring and identify possible next steps within ___ days
    Share next steps with candidates within ___ days
  Determine how interviews will be scheduled and share calendar links with candidates as needed

Draft Candidate Communication
  Invitation to interview
  “Selected” email
  “Not selected” email
  Job offer

Identify Opportunities for Candidate Engagement
  School visits
  Information sessions with department members

Conduct Interviews
  Ensure hiring committee members understand and appropriately use standardized scoring guides
  Collaborate to review scores and make decisions for next steps and offers
  Send next step, selected, and not-selected notifications
    Hold not-selected notification until after position is staffed

Set Up Onboarding Systems
  Identify mentors and points of contact for new hire
  Ensure new hire is signed up for any mandatory training, such as the New Teacher Week with the DOE
  Hold school-based new teacher orientation
  Provide new hire with opportunities to ask questions and make sure their logistical needs are met
    Support with classroom set up?
    Explanation of drop-off, lunch, pick-up systems?




*Google login required                                                                                  16
    Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 19 of 50 PageID #: 821

Inclusive Teacher Recruitment & Hiring Toolkit



Template A: Hiring Process                                 Timeline
                                                           Click here to download and customize to your needs*


Timeline 1: If I can start my hiring process by May... (3-month process)

                                                                  May
 Assemble
 Hiring                   Take Inclusive Teacher Recruitment & Hiring Self-Assessment as a leader to reflect on
                           your school environment and identify potential obstacles to an inclusive process
 Committee                Share opportunity to participate in hiring with staff, parents/caregivers, and students
                            Actively recruit underrepresented community members
 &                          Include an estimate of time per week for committee work

 Align The                Hold first hiring committee meeting and create a shared vision
                            Clarify roles and responsibility, including a process for decision-making
 Interview                  Assign professional development
 Process                  Identify role being hired and establish fundamentals for evaluating it
 With The Job               Name job-aligned criteria for the role

 Description                Determine interview process and materials being collected
                            Create scoring guideline
                            Write interview questions based on criteria
                          Revise Job Description to highlight “must have” criteria named above

                                                              Early June
                          Begin candidate outreach
                            Find and attend events like hiring fairs to attend and source candidates and put on
 Begin Outreach              calendars of hiring committee
                            Network with community members and other educators to identify hiring channels
 &                          Post job description
                          Create all materials and events to support your process
 Build Materials            Draft outreach emails and flyers; update website
 to Support Your            Draft next step, acceptance, and rejection emails
 Process                    Set up inbox for resume collection
                            Allocate staff time for resume review
                            Create a calendar for interview blocks
                            Finalize interview protocol, scoring materials, and debrief process
                            Name time for school visits to allow candidates to experience your community

                                                         Mid-June - August
                          Conduct interviews
                          Engage candidates with school visits
 Active Hiring:           Review scoring guides from interviews and select candidates for hiring

 Selection and            Extend offer letters
                          Notify those not selected once offer is accepted
 Onboarding               Onboard new candidates:
                            Provide new hire with important school documents, like handbook
                            Assign new hire a mentor
                            Introduce mentor and mentee and provide guidance for collaboration

*Google login required                                                                                           17
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 20 of 50 PageID #: 822

Inclusive Teacher Recruitment & Hiring Toolkit



Template B: Hiring Process                                Click here to download and customize to your needs*


Timeline 2: If I can start my hiring process by December… (9-month process)

                                                             December
                        Collect preference sheets and canvas staff to assess possible vacancies
                        Review timelines and modify to fit your needs, plotting rough dates for:
 Assemble                 Posting Job Description
 Hiring                   Resume collection
 Committee and            Holding interview(s)
                          Hosting school visits
 Begin Planning           Onboarding
                        Share opportunity to participate in hiring with staff, parents/caregivers, and students
                          Actively recruit underrepresented community members
                          Include an estimate of time per week for committee work

                                                              January
 Meet as a Team         Hold first hiring committee meeting and create a shared vision
 and Examine            Take Inclusive Teacher Recruitment & Hiring Self-Assessment as committee to
 Current                 collaboratively reflect on your school environment
                        Brainstorm professional development needs
 Practices              Clarify roles and responsibility, including a process for decision-making
                        Assign professional development, both differentiated and as a whole team

                                                              February
 Review Job             Identify criteria for role(s) being hired
 Description            Create scoring guideline and write interview questions based on criteria
 and Develop            Determine materials being collected and interview process,
 Criteria for             Typically cover letter, resume, references, and an interview are required, also plan
                            for additional elements such as demo lessons
 Evaluation             Revise Job Description to highlight “must have” criteria named above
                        Enact professional development to build shared vision of inclusivity

                                                                                          Continued on next page




                                                                                                                   18
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 21 of 50 PageID #: 823

Inclusive Teacher Recruitment & Hiring Toolkit



Template B: Hiring Process Timeline (continued)
Timeline 2: If I can start my hiring process by December… (9-month process)

                                                              March
                        Plan candidate outreach:
                          Find events like hiring fairs to source candidates and put on hiring committee
                            calendars
                          Network with community members and other educators to identify hiring channels
                          Develop opportunities for candidates to visit your school and experience your
 Plan Outreach              community
 and Identify           Create materials to source candidates

 Recruitment              Draft outreach emails and flyers; update website
                        Draft next step, acceptance, and rejection emails
 Channels               Set up inbox for resume collection
                        Outline more granular timeline for resume collection and interview in a shared
                         calendar for the hiring committee
                          Allocate staff time for resume review
                          Create a calendar for interview blocks
                          Name time for school visits
                        Continue professional development to build shared vision of inclusivity

                                                           Early April
                        Post job description and begin to attend hiring fairs
 Go Live: Begin         Meet as a committee to check-in on process. How are we doing with:
 to Source                Collecting resumes?
 and Review               Reviewing resumes?
                          Notifying candidates of our decisions (rejection/next steps)?
 Candidates             Finalize interview protocol and scoring materials
                        Draft structured debrief process
                          Discuss how you will respond to bias appearing in the debrief

 Active Hiring:                                           April - June
 Carry Out              Conduct interviews
 Your Interview         Engage candidates with school visits
 Process and            Review scoring guides from interviews and select candidates for hiring

 Identify New           Extend offer letters
                        Notify those not selected once offer is accepted
 Hires
 Engage &                                                July - August
 Onboard New            Provide new hire with important school documents, like handbook

 Hires                  Assign new hire a mentor
                        Introduce mentor and mentee and provide guidance for collaboration



                                                                                                        19
     Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 22 of 50 PageID #: 824



     1                        2                       3                   4                    5                    6
 Assemble a              Examine Your              Map Your      Create a Standardized   Source, Review,    Engage & Onboard
Diverse Hiring         Current Practices        Recruitment &     Review & Interview       & Interview         New Hires
  Committee             & Environment           Hiring Process          Protocol           Candidates




 STAGE 4 |                                                                         Tips to Mitigate Bias
                                                                  DO: When analyzing a job description, ask

 Create a                                                         yourself: “Does this reflect the actual requirements
                                                                  of the position? Or does it reflect traditions and


 Standardized Review
                                                                  preferences?”

                                                                  AVOID: Be aware of focusing on candidates similar


 & Interview Protocol
                                                                  to you (e.g., have familiar names, went to a similar
                                                                  college, are a similar age).




                                                                  The hiring practice known as Structured
                  Quick look:                                     Interviewing is designed to actively mitigate bias.
                                                                  Structured interviewing means exposing candidates
                                                                  to the same experiences—including the same
                                                                  process-steps, interview questions, and methods
                 What is the purpose of                           of scoring—as they compete for the same job. This
                 this stage?                                      provides all candidates with a uniform experience
                 Learn about the structured                       that mitigates bias and pushes interviewers to only
                 interview process and make a                     assess candidates against job-aligned criteria.
                 plan for carrying it out with your
                 team.
                                                                  In this stage you will:
                 When should it be used?                            Review and revise the job description for
                  ❖ After the hiring committee is                    anticipated vacancies
                    assembled                                       Create a rubric, aligned with key skills, to
                  ❖ Before recruiting and                            evaluate candidate responses
                    interviewing candidates
                                                                    Plan a structured interview process to give
                 Who should be involved                              each candidate a standardized experience
                 at this stage?
                 Hiring Committee, Principal,
                 Assistant Principal(s)

                 Starting point
                 Structured Interviewing Guide


                                                                                                                         20
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 23 of 50 PageID #: 825

Inclusive Teacher Recruitment & Hiring Toolkit



        Review job description and determine
          competencies needed for the job                         Sample List of Requirements:
                                                             Required Skills
  Develop a list of job related questions (behavioral,
               situational, and general)                      Ability to plan and implement lessons for
                                                               grades 7-8 mathematics curriculum
        Create a rubric with evaluation criteria
                                                              Knowledge of student engagement
                                                               strategies for synchronous and
     Plan interview protocol with hiring committee             asynchronous instruction

                                                             Desired Skills
                  Conduct interviews                          Demonstrated commitment to culturally
                                                               responsive pedagogy and prior
                                                               experience with implementation
This section is designed primarily as a planning
stage. The following section, Stage 5: Begin Hiring:
Sourcing, Reviewing, and Interviewing Candidates will
give more support on actually carrying out this work.

Note: All these steps are supported with additional            The Research on Wants vs. Needs
tips, advice, and resources in the Structured
                                                             Make a clear distinction between desired
Interviewing Guide.
                                                             skills vs. required skills and limit these
                                                             sections as much as possible. Research
Step 1: Review job description to gain
                                                             from Linkedin shows that the amount of
clarity on the specific needs for the role.
                                                             job duties could impact the diversity in
Structured interviewing begins by developing a               your hiring pool, as underrepresented
shared understanding of what past experiences,               candidates are more likely to think they are
skills, and competencies a strong candidate will have.       underqualified.
Before looking at any existing job descriptions, task
the hiring committee to write out the requirements
needed to be successful in the role. It will be
especially valuable to hear the perspectives of          Highlight the Importance of Diversity
teachers who have lived experience in the position         Does this position description include language
and community members whose children have been              explaining the importance of being able to
or will be in the grade and subject.                        successfully work with diverse populations? If
                                                            not, feel free to use this sample language:
Next, use the guiding questions below to evaluate
previous job descriptions for positions similar to the       The New York City Department of Education is
vacancy for which you are hiring.                             dedicated to building a teaching staff that can
                                                              best serve our diverse student body (i.e., race,
Education and Experience Requirements
                                                              culture/ethnicity, gender identity, disability,
  Based on the position, what are the minimum                sexual orientation, etc.). Successful candidates
   education requirements, experience, and                    will demonstrate the ability to work with the
   certification requirements required by law?                diverse communities and cultures that define
                                                              our city.
  Consider referencing the NYS Certification
   Search if you are unclear on the legal standards
   for the position you are hiring for.
                                                                                                              21
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 24 of 50 PageID #: 826

Inclusive Teacher Recruitment & Hiring Toolkit




“A diverse staff affects more than just                  a standard interview, it is critical to remember that the
                                                         standardized processes must extend to all aspects of
 student education. It also helps to build               the candidate’s experience, including these additional
                                                         materials. If you are expecting a demo lesson, then
 communication bridges with families                     the procedure for delivering that lesson, and the
 and fosters trust in the school-home                    hiring committee’s assessment of their performance
                                                         must be standardized in the same manner outlined
 connection.”                                            below for the interview.
                                 — NYC DOE Principal

                                                                                      Fact
Determine what materials you will require
candidates to submit.                                        Teachers of color play pivotal roles
                                                             in building relationships that help
While a resume, cover letter, references, and                students of color and their families make
interview form the core of most hiring processes,            connections to school (King, 1993).1
many principals find performance tasks invaluable.
These performance tasks can range from a request             1. Sabrina Hope King, “The Limited Presence of African-
for sample materials, such as lesson plans,                     American Teachers,” The Review of Educational
                                                                Research 63, no. 2 (1993): 115-149.
assessments, or unit progressions, to an invitation to
demo a lesson in-person. Consider what additional
input you want from your candidates, and then build
these requirements into the job description.

As with everything detailed in this stage, the
process for evaluating these new requests must be
standardized. While this section focuses on creating
                                                                                                                       22
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 25 of 50 PageID #: 827

Inclusive Teacher Recruitment & Hiring Toolkit


Revising the Job Description
With your newly identified list of required and desired
skills, knowledge sets, and competencies, you
are ready to craft a job description that will draw
a qualified and diverse (i.e., race, culture/ethnicity,
gender identity, disability, sexual orientation, etc.)
candidate pool. Incorporate these skills into the body
of the description, then revise language and tone.
Follow these guidelines for inclusive, accessible, and
affirming language:

  Use gender neutral pronouns if pronouns are
   needed in the job description.

    Example: use “they” and not “she/he” or “she
     or he.”

  Ensure that preferred job requirements map to
   the responsibilities of the position. Remember
   that many positions’ educational and experience
   requirements are dictated by entities outside
   of the NYC DOE and are aligned with the
   responsibilities of the job.

  Include language regarding your school’s
   commitment to diversity in the workplace and
                                                                                      Tip
   working with diverse communities in the position            Research has shown that job descriptions
   requirements.                                               can make or break a diversity recruitment
                                                               process. It is important to use language that
    Note: this is separate from the EEO statement
                                                               is not gendered, ageist, ableist, or otherwise
     on discrimination.
                                                               discriminatory.
  Limit the use of jargon inside of your job
   description. Heavy jargon use can limit the
   number of applicants to the role, which could
   limit the diversity in your hiring pool.




    External Resources
  Programs like Textio and Grammarly can detect the         The article Job Descriptions: Inclusive Content,
   tone of your job description to support more inclusive     Not Just Language outlines language that may be
   and accessible messaging.                                  dissuading communities from applying.

  This article outlines how to design forms for gender      The article “8 Examples of Unconscious Bias in Job
   diversity and inclusion.                                   Descriptions” provides references for what not to do in
                                                              your job description.
  Use the free resource Gender Decoder to examine your
   job description for gendered language.                    Non-Prejudicial Language for ADA Compliant Job
                                                              Descriptions



                                                                                                                  23
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 26 of 50 PageID #: 828

Inclusive Teacher Recruitment & Hiring Toolkit


Step 2: Develop a list of relevant, skills-                 levels, that allow a given candidate’s response to be
based and job-related questions.                            compared to a standard and evaluated. An effective
                                                            scoring system will anticipate possible answers to
Starting from the skills and experiences that define
                                                            each interview question and indicate where each will
the role, develop a list of questions that give each
                                                            fall in the scoring system.
candidate an opportunity to share those qualities to
the extent they have them. While it may be appropriate
to include teacher-specific language and scenarios
when interviewing candidates with prior teaching            “My first hire, three years ago, was
experience, or being hired into a specific role like         someone that a few members of the team
Guidance Counselor, aim to create questions that use
straightforward language with minimal educational            passed up on, but my principal and myself
jargon. This is especially true for interviews with new
teachers and/or support staff roles.
                                                             wanted to bring in for an interview. Since
Structured interviewing predominantly uses two
                                                             hiring her, she has been a vital part of our
types of questions: Behavioral (“Tell me about a time        community and has formed incredible
your behavior had a positive impact on your team”)
and Situational (“How would you communicate
                                                             relationships with our students. She has
with a parent or guardian who isn’t happy with their         created clubs and is on her way to being a
child’s experience in your classroom?”). Behavioral
questions are good at revealing patterns of behavior         tenured teacher. Without a diverse hiring
and situational questions allow you to see how a             committee, she would have fallen through
candidate will respond to position-related situations.
Additionally, you may ask general questions to               the cracks.”
self-assess specific skills or speak to work-related
                                                                                 —Member of a NYC Hiring Committee
preferences.


Step 3: Develop a rubric with
standardized evaluation criteria.
Creating a rubric for the interview gives your team                                         Fact
the chance to explicitly align the skills they are asking
                                                                A teacher of color working in a diverse
about with the manner they are scored. Once built,
                                                                community of teachers is less likely to feel
the rubric also serves as a checklist for ensuring
                                                                isolated, frustrated, or fatigued, and less
consistency between interviews and providing a
                                                                likely to leave the profession than when
standard to support the committee’s decision for
                                                                working alone (Learning Policy Institute,
each candidate.
                                                                2018).1
When building a rubric, the hiring committee should             1.	​​https://learningpolicyinstitute.org/product/diversifying-
return to thinking about the knowledge, skills, and                  teaching-profession-report

abilities that the candidate will need to be successful
in the position. These skills should then be flipped
into “look-fors,” starting with the qualities that would
be present in a high-level response and which
indicate the presence of the given abilities in the
candidate. Finally, all “look-fors” should be organized
according to a scoring system, perhaps with 1-5


                                                                                                                                 24
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 27 of 50 PageID #: 829

Inclusive Teacher Recruitment & Hiring Toolkit




Step 4: Collaboratively Plan with the                      Next, map out the flow of the interview itself.
Hiring Committee.                                          Sequence questions as needed, and make sure there
                                                           are no redundancies. Determine which committee
Take a moment to develop a plan for the actual
                                                           members will be physically present for the interview
interview. This should be a document that frames your
                                                           and assign speaking roles. Finally, clarify how
overall vision of the hiring process, and includes a
                                                           interview notes will be taken by members in the
script that ties your questions to a set format.
                                                           moment, as well as how and when candidates’
To do this, revisit the vision and “deep why” of           performance will be scored and shared among the
inclusive hiring (from Stage 1, Assemble a Diverse         group afterwards.
Hiring Committee and Stage 2, Examine your Current
                                                           The Resume Review Checklist provides an excellent
Practices & Environment) and use it to create a
                                                           framework for thinking through the roles and
protocol for the interview that provides a streamlined
                                                           responsibilities in this section. Consult it as you plan,
experience for candidates. Start by providing a brief
                                                           taking the pieces that make sense for your school
introduction that contextualizes the interview itself
                                                           and letting go of any ideas that feel too cumbersome.
within the larger hiring process (as mapped out in
Stage 3, Map your Recruitment & Hiring Process),           Once you have solidified your plan, you are ready to
and identify completed stages and any important            go live with the posting and prepare to interview!
dates that will follow. When drafting this introduction,
consider how committee members will introduce
themselves, and include an opportunity for them to
explain their background, relationship to the school,
and why participating in this process matters to them.
                                                                                                                 25
     Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 28 of 50 PageID #: 830



     1                        2                      3                    4                    5                  6
 Assemble a              Examine Your              Map Your      Create a Standardized   Source, Review,    Engage & Onboard
Diverse Hiring         Current Practices        Recruitment &     Review & Interview       & Interview         New Hires
  Committee             & Environment           Hiring Process          Protocol           Candidates




 STAGE 5 |                                                                         Tips to Mitigate Bias
                                                                  DO: Assess candidates based on standardized

 Source, Review,                                                  criteria and scoring guides developed by the hiring
                                                                  committee.


 & Interview
                                                                  AVOID: Making a decision about interviewed
                                                                  candidates based on a “gut” feeling.


 Candidates

                                                                  Now that you have outlined a plan for the structured
                 Quick look:                                      interview process, it’s time to put it into action—
                                                                  actively recruiting candidates and carrying out
                                                                  interviews. This is one of the most dynamic phases
                                                                  of the hiring process, where written plans take a
                 What is the purpose of                           back seat to live interaction. It is therefore even
                 this stage?                                      more important to approach it with care, building
                 Implement the structured                         in structures to prevent bias, yet allowing your
                 interview process, conduct                       community to shine in an authentic manner that
                 interviews, and select the best
                                                                  shows your commitment to inclusivity.
                 candidates for your school

                 When should it be used?                          In this stage you will:
                  ❖ After you have a workflow for
                                                                    Implement an inclusive advertising and
                    accepting resumes
                                                                     outreach plan to source diverse (i.e., race,
                  ❖ Before making selections on
                                                                     culture/ethnicity, gender identity, disability,
                    candidates
                                                                     sexual orientation, etc.) candidates
                 Who should be involved                             Get tips and advice on executing the
                 at this stage?                                      structured interviewing process planned in
                 Hiring Committee, Principal,                        Stage 4
                 Assistant Principal(s)

                 Starting point
                 Structured Interviewing Guide


                                                                                                                        26
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 29 of 50 PageID #: 831

Inclusive Teacher Recruitment & Hiring Toolkit


Posting and Advertising the Role                             Collect and analyze applicant flow data from the
                                                              recruitment sources that you used to assess their
The recruitment process begins with advertising your
                                                              effectiveness.
job posting and planning additional outreach to hit
the widest possible candidate pool. No matter how            Develop strategic partnerships with a varied
inclusive and well-crafted your job description may           range of colleges, trade schools, apprentice
be, if a diverse (i.e., race, culture/ethnicity, gender       programs, and affinity organizations to work more
identity, disability, sexual orientation, etc.) audience      collaboratively around recruiting diverse top talent.
does not see the posting, your recruitment pool will
be limited. Below are several recommendations for          Reviewing Candidates
maximizing the effectiveness of your advertising and
                                                           As candidates respond to job postings with
outreach:
                                                           applications and resumes, it is time to put your
  Post a position internally and externally with a        hiring committee’s plans into action. The systems
   wide variety of diverse stakeholder groups to           you have developed up until this point will bear fruit,
   avoid replicating any gaps within your team.            streamlining a candidate’s experience and putting
                                                           your school’s best foot forward. As lead of your
    If your budget has been released, add the
                                                           school’s hiring process, use this time to informally
     position to your Table of Organization in Galaxy
                                                           check-in on the various processes in motion,
     so it is visible in the Open Market Transfer
                                                           reminding task owners of their responsibilities. As
     System for current DOE staff to view.
                                                           interviews get booked, double check the reserved
    Post the position in the New Teacher Finder           times and ensure they still fit with everyone’s
     with details about the role and your school so it     calendar. Communicate any changes to the staff
     is visible to external teacher candidates. Make       doing the interviews.
     sure to include an end date and make the post
     visible to candidates. You can add a secondary
     point of contact on your hiring committee and
     update your post at any time.

    Share the position through school-based social
     media, and with the school community to reach
     the broadest audience.

    Note: all external teacher candidates must
     submit an application through TeachNYC.net to
     be processed through Applicant Gateway.

  Increase awareness about training programs and
   tuition reimbursement available for school-based
   roles through DOE hiring fairs and related events.

  Create opportunities for candidates to visit
   your school and experience your community.
   These can range from formal school tours and
   open school days with meal breaks and student
   speakers, to more informal invitations to see
   the school in action, offering candidates the
   opportunity to speak with current staff without
   administration present.

                                                                                                                 27
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 30 of 50 PageID #: 832

Inclusive Teacher Recruitment & Hiring Toolkit


Interview Candidates                                                  “We just hired a teacher who is African
The interviewing phase can feel like one of the most
exciting parts of the hiring and recruitment process.
                                                                       American and wears her natural hair.
However, being alert to potential biases against                       When a little girl in my kindergarten class
candidates takes on added importance as the process
itself speeds up and becomes more interactive.
                                                                       saw her with the same hair she beamed!”
Throughout the interview process, the committee
                                                                                                       —NYC Peer Recruiter
members should continue to be aware of affinity
bias, confirmation bias, halo effect, and conformity
bias as defined in Stage 2: Examine your Current
Practices & Environment. Remember that bias can
                                                                           Stay Insistent About Being Consistent
show up before, during, and after the interview.                          Always adhere to set standards and rubrics
                                                                          when weighing each candidate to ensure
During the interview, interviewers should take
                                                                          that justification of hiring decisions are done
detailed notes that relate to the knowledge,
                                                                          in an equitable manner. Once standards
skills, and abilities needed for the job role. The
                                                                          are set they should not change after
notes should not contain subjective information
                                                                          interviewing begins.
concerning the evaluator’s opinion about the
candidate being interviewed. The evaluator should
capture the factual details of what the candidate
said or accomplished. Avoid making notes about the                    Create an Inclusive Hiring Environment
candidate’s appearance, identity, or membership in                    At every stage, hiring is a mutual process. Candidates
a protected class.                                                    are of course hoping to impress you and secure
                                                                      a job, but equally, you must try to impress them,
Self-Reflection Questions While Evaluating                            showcasing your community and sharing why it would
a Candidate’s Interview Performance                                   make a good home. This mutuality is never more
  How was my evaluation informed by my own                           important than during the interview itself. Consider
   cultural and lived experiences?                                    the following tips to create an inclusive hiring
                                                                      environment:
  What ways might I be interpreting a candidate’s
   skills due to my own socialization and culture?                      For in-person interviews, be aware of
                                                                         accessibility to and within the building where the
  Was there anything I was drawn to that is not a                       interview is taking place. Does the entrance have
   named skill? Why might that be?                                       steps? Is there a ramp? Is there an elevator?
  What might I be missing from the interviewing                        For online and phone interviews, ensure that the
   process?                                                              interviewers are in settings where the interviewers
                                                                         are visible and easy to hear.

                                 Fact                                   Respect the applicant’s time and personal setting
                                                                         —do not change the interview at the last minute,
     Teachers of color boost the academic                                as the person may have arranged a quiet setting
     performance of students of color, including                         or obtained childcare to make the interview.
     improved reading and math test scores
     (Learning Policy Institute, 2018).1
     1.	​​https://learningpolicyinstitute.org/product/diversifying-
          teaching-profession-report



                                                                                                                            28
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 31 of 50 PageID #: 833

Inclusive Teacher Recruitment & Hiring Toolkit


  Communicate a willingness to help with
   accessibility, by including a general statement in
   outreach to all candidates offering to help with
                                                                           Even the Best Teams…
   accommodations if needed (i.e., “To request an                  Given the pervasiveness of unconscious
   accommodation, please contact…”)                                bias, it is not unusual for inappropriate or
                                                                   biased statements to come up during post-
  Assess if the building where the interview is                   interview discussions. Consider establishing
   taking place has all-gender / gender inclusive                  discussion norms that remind participants of
   restrooms and notify the interviewee of these                   this possibility, and provide pre-established
   (e.g., there is a men’s and women’s restroom                    responses that recognize and illuminate
   on this floor, and on the 2nd floor there is an all             wrongful statements in the moment. The
   gender bathroom).                                               more work done in advance, the less these
  If the interview involves various groups of                     moments will feel fraught or personal, and
   interviewers, allow for breaks during the day                   the more they can transform into powerful
   or offer to split the day to create moments of                  learning moments for everyone.
   decompression.


Recommendations for Post-Interview                            Finally, if you get stuck, consider the following
Discussion                                                    questions to help you move forward:
After the interview, your team should meet to share
                                                                What are the minimal qualifications of a
notes and discuss the candidate as soon as possible.
                                                                 candidate that you would move on to the next
Move your way through the interview protocol and
                                                                 stage?
corresponding rubric, and evaluate the candidate’s
responses against each of your criteria. With your              How many applications will be moved on to the
eye on inclusivity, pay particular attention to how the          next round? Why this number for your school?
candidate has demonstrated the ability to work with
                                                                How will you know if the application review was
diverse (i.e., race, culture/ethnicity, gender identity,
                                                                 successful?
disability, sexual orientation, etc.) populations and
can develop and maintain working relationships with
diverse coworkers, community members, and the
populations we serve. As you engage in discussion,
and return to your predetermined decision making
process, it is important to remind the team to analyze
the “why” behind their decisions and feelings.




    External Resources
  Note these tips from Harvard University for specifics on     Read these articles from Forbes and Workable about
   resume review.                                                how bias can affect recruitment in your organization.




                                                                                                                     29
     Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 32 of 50 PageID #: 834



     1                        2                     3                    4                    5                    6
 Assemble a              Examine Your             Map Your      Create a Standardized   Source, Review,     Engage & Onboard
Diverse Hiring         Current Practices       Recruitment &     Review & Interview       & Interview          New Hires
  Committee             & Environment          Hiring Process          Protocol           Candidates




                                                                “When I was hired at my current school, I
 STAGE 6 |                                                       was hesitant to go to the interview due to

 Engage & Onboard                                                the unfamiliarity of the area. Once in the
                                                                 building, the culture of the school eased
 New Hires                                                       my worry. I was received warmly by the
                                                                 staff, students, and families. I would now
                                                                 like to extend that warmth and friendliness
                                                                 to newcomers and make everyone feel
                                                                 welcomed to the community.”
                                                                                         ­­—NYC Peer Recruiter
                  Quick look:
                                                                 When it comes to building an inclusive culture, the old
                                                                 truisms about a first impression cannot be overstated.
                 What is the purpose of                          You will never get a second chance to welcome a new
                 this stage?                                     staff member into your school community. Onboarding
                 Welcome new teachers into                       represents your first and most important opportunity
                 your school and prepare them                    to prove your inclusive culture is authentic, a place
                 to be active members of your                    where every staff member feels emotionally safe and
                 community in support of
                                                                 able to bring their whole self into your building. It is
                 strengthening retention
                                                                 the fundamental building block of a school culture that
                 When should it be used?                         supports ongoing professional growth.
                  ❖ After selecting and notifying
                    a candidate                                  In Stage 6 you will:
                  ❖ Before the first day of
                    classes                                         Plan activities and events to introduce new
                  ❖ Ongoing throughout the year                      staff to your school community
                                                                    Organize your onboarding process to make
                 Who should be involved                              sure every hire knows what is expected and
                 at this stage?                                      where they can go for help, allowing them to
                 All school staff, students,                         focus on the work ahead of them
                 families, and caregivers                           Get tips and advice for making new hires feel
                                                                     safe, welcome, and ready to share themselves
                                                                     with your community
                                                                                                                       30
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 33 of 50 PageID #: 835

Inclusive Teacher Recruitment & Hiring Toolkit




                                                          Professional Growth                   Learning Community
       Onboarding                   Mentoring                                                    Development and
                                                           and Development                            Support


Implementing inclusive onboarding and mentoring
structures are the first two steps to establishing a
school culture that supports ongoing professional
                                                                               Promoting Equity
growth. Failure here can be catastrophic: strong               New York City continues to make progress
candidates know their worth, and will walk away                in diversifying our teaching force, which
from offers that do not live up to the promises of the         research shows has a direct positive
                                                               impact on our students. Essential to this
interview. But even the smaller missed opportunities
                                                               continued progress is the support our new
take their toll, resulting in lower investment, lower
                                                               and diverse (e.g. race, language, gender,
satisfaction, and lower retention. Hiring does not end
                                                               sexual orientation, disability, socioeconomic
with an acceptance letter, and true inclusivity only           status, etc) teachers receive, especially our
begins the moment someone walks through your door.             teachers of color. Schools must implement
                                                               professional development programming
                                                               and support structures that respond to
                   Orient to HR                                the unique challenges teachers of color
                    Basics and                                 face, cultivate more equitable and inclusive
                  Your Building’s                              environments, and honor their strengths as
                     Logistics                                 educators. From microaggressions to lack
                                                               of leadership pathways, many teachers of
    Care for                           Support                 color experience an invisible tax on their
    Social-                          Pedagogical               participation in the school community—
   emotional
   Well-being        Holistic          Growth                  which can quickly become a reason to exit
                   Onboarding                                  the profession. Thoughtful planning for
                                                               new teacher onboarding can provide the
                                                               equitable support needed to retain teachers
                                                               at your school.
          Welcome             Implement a
          Into the         Strong Mentorship                  1. The Education Trust- New York. “See Our Truth: The State
         Community              Program
                                                                 of Teacher and School Leader Diversity in New York, and
                                                                 Why It Matters for Students, Educators, and Our Future”.
                                                                 (October, 2017). Available at: https://newyork.edtrust.org/
                                                                 wp-content/uploads/sites/5/2017/10/See-Our-Truth.pdf.
                                                              2. Richard Ingersoll, et al. “Recruitment, Employment,
                                                                 Retention and the Minority Teacher Shortage,” (Education
                                                                 Policy Analysis Archives, Vol. 27, No. 37). Available at:
                                                                 http://dx.doi.org/10.14507/epaa.27.3714.
Think Holistically to Welcome New Teachers
Consider all the places a new hire needs to be
grounded in to feel stable­—from professional
                                                          and create a comprehensive onboarding program that
development to prepare them for the work at hand to
                                                          works for you.
their social-emotional needs so they can bring their
full self to your community. After interviewing new       Finally, we cannot stress the basics enough: newly
teachers and skilled principals alike, we identified      hired employees will only fully engage if they can
five core areas needed to support new hires. Below        access pay systems and the HR-related benefits they
we offer guiding questions for reflecting on those five   were promised. Resolving issues related to teachers’
areas as well as concrete advice for implementing         salary, benefits, and other HR-related matters is the
them. We hope you can use the items to identify gaps      first step in setting your teachers up for success.
                                                                                                                               31
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 34 of 50 PageID #: 836

Inclusive Teacher Recruitment & Hiring Toolkit




  Priority Steps from Hiring to October                            Key Resources
         Orient to HR Basics
   1. Plan a time for new teachers to review the HR Roadmap         ❖ HR Roadmap
      and confirm ID, email, payroll, benefits, and vaccine         ❖ HR Checklist for New Pedagogical
      information                                                     Employees
   2. Connect teachers with school payroll secretary and
      provide time for a 1:1 meeting


         Orient to Your School Building’s Logistics
   1. Form New Teacher Induction Committee (NTIC)                   ❖ New Teacher Toolkit
   2. Update and share employee handbook                            ❖ New Teacher Induction Committee
                                                                       Handbook
   3. Train on attendance and gradebook systems
                                                                   Provide teachers with your updated
   4. Post building signage and ensure facilities are accessible   school handbook
      for all
   5. Provide a tour of the school building


         Support Pedagogical Growth | Support Students in Special Populations (SwD/MLL)
   1. Ensure teachers register for New Teacher Week                General PD:
      (mandatory)                                                   ❖ I Teach NYC
   2. Connect new hires with subject/grade level teams to           ❖ WeTeachNYC
      access instructional materials and collaboratively plan      Peer Learning:
   3. Meet with new hires to identify professional goals, and       ❖ Collaborative Learning Through Peer
      hold space for connection and questions                         Inter-visitations Toolkit
   4. Provide information on leadership opportunities and          Learning Communities:
      career pathways available for educators in my school          ❖ Employee Resource Groups (ERG)
   5. Connect diverse teachers with professional learning           ❖ NYC Men Teach
      communities to support their unique experiences and           ❖ BLEND (Black and Latino Employees
      needs                                                           Networking and Development)
   6. Connect new hires with SwD Coordinator                        ❖ Center for Black Educator
                                                                      Development
   7. Host professional development on IEP process
                                                                    ❖ Institute for Teachers of Color
   8. Host differentiated PD that is responsive to the needs of       Committed to Racial Justice
      diverse teachers, and teachers of special populations,       Supporting SwD and MLLs:
      such as multilingual learners and students with IEPs          ❖ Multilingual Learners Infohub Page
                                                                    ❖ Special Education Infohub Page
                                                                    ❖ Special Education Office: Professional
                                                                      Learning
                                                                    ❖ IEP Progress Monitoring
                                                                   Career Growth:
                                                                    ❖ Career Development and Leadership
                                                                    ❖ Teacher Career Pathways

                                                                          Continued on next page           32
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 35 of 50 PageID #: 837

Inclusive Teacher Recruitment & Hiring Toolkit




  Priority Steps from Hiring to October                        Key Resources
         Implement a Strong Mentorship Program
   1. Consult NTIC and utilize New Teacher Mentoring           ❖ The NYCDOE New Teacher Mentoring
      resources to create a mentorship program                   website
   2. Require mentors to become a certified NYC DOE mentor     ❖ New Teacher Instructional Mentoring
      via School Based Mentoring Certification Course            Guide for Principals
                                                               ❖ School Based Mentoring Certification
   3. Meet with new teachers to garner input on what makes a
                                                                 Course
      successful mentoring relationship
                                                               ❖ New Teacher Induction Committee
   4. Provide mentors with a suggested schedule of               Handbook
      touchpoints, but remind them to align them with their    ❖ Mentoring Tracking System For
      mentee’s needs                                             troubleshooting assistance:
   5. Hold a check-in meeting with mentors and mentees           MTSsupport@schools.nyc.gov
      to address concerns and evaluate effectiveness of        ❖ The United Federation of Teachers
      programming                                                mentors page


         Welcome into the Community
   1. Overview your school mission, values, and goals          ❖ Template D: New Teacher Welcome
   2. Send welcome letter to new hires                           Letter
                                                               ❖ Template E: Onboarding Essentials


         Care for Social-emotional Well-being
   1. Create low-stakes spaces to share “first year” stories   ❖ New Teacher Toolkit
   2. Ensure new hires have adequate classroom supplies and    ❖ Template D: New Teacher Welcome
      materials                                                  Letter
   3. Dedicate time for classroom set up


         Support Mid-Year Hires
   1. Share New Teacher Week resources                         ❖ New Teacher Toolkit
                                                               ❖ New Teacher Induction Committee
   2. Dedicate time for classroom set up
                                                                 Handbook
   3. Connect with mentor and SwD coordinator                  ❖ New Teacher Instructional Mentoring
   4. Share updated School Handbook                              Guide for Principals
                                                               ❖ Template D: New Teacher Welcome
   5. Provide training on attendance and gradebook systems       Letter
                                                               ❖ Template E: Onboarding Essentials




                                                                                                       33
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 36 of 50 PageID #: 838

Inclusive Teacher Recruitment & Hiring Toolkit




           Orient to                               Ways to implement:
           HR Basics                                Plan a time for new teachers to review HR
                                                     Roadmap and HR Checklist for New Pedagogical
                                                     Employees, as well as confirm ID, email, payroll
  Goal: Ensure all new hires can access HR           and benefits, and vaccine information.
  systems and answer questions that may arise
                                                    Connect new teachers with the Teachers’
  Who Should Be Involved: Principal, Payroll         Retirement System of the City of New York,
  secretary, UFT Chapter Leader                      including the Tax-deferred Annuity (TDA)
                                                     retirement program.
  Guiding Questions:
  How am I checking in with new staff on payroll    Connect teachers with school payroll secretary
  and benefits? How do I know they have set-         and provide time for a 1:1 meeting.
  up their benefits? Who can they contact with      Encourage your new teacher to submit their
  questions?                                         healthcare, pay step differentials and other related
                                                     documents early.

                                                    Share information about how to file grievances
                                                     and find support when working through conflicts
“Offering check-ins or resources for                 with co-workers.

 learning more about HR concerns
 would be greatly helpful.”
                     —New Teacher Testimonial
                                                                                                      34
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 37 of 50 PageID #: 839

Inclusive Teacher Recruitment & Hiring Toolkit



           Orient to Your School                          Directions to the building using personal and
                                                           public transportation
           Building’s Logistics
                                                          Attendance and gradebook instructions with
                                                           screenshots
  Goal: Ground new hires in the layout and logistics      A floor plan of the building (bonus if it is
  of your building                                         student-drawn and includes notes about
                                                           favorite spots)
  Who Should Be Involved: Principal, UFT
  Chapter Leader, Assistant Principal(s), New             How to navigate the Special Education
  Teacher Induction Committee, Mentors and Lead            Student Information System (SESIS)
  Teachers, Student Ambassador(s)                         How to navigate age-appropriate student
                                                           discipline techniques
  Guiding Questions:
                                                          Per session rules and procedures
    How am I orienting my teachers to the basic
                                                          How last minute changes will be announced
     logistics of our building? Do new hires have
     a clear understanding of our floor plan,             Contact information for school level (technical)
     period length, lunch process, and dismissal           support
     systems? Can new hires successfully access         Share a document of DOE and school lingo.
     classroom supplies and use the printer?
                                                        Share the First-Class archives to create
    How do I know if a new hire needs                   awareness of the information and remind
     accessibility support? Are they comfortable         teachers to look for the first edition of the year to
     navigating to the school and accessing              launch in October.
     transportation?
                                                        Communicate the benefits of the DOE virtual
                                                         library-SORA.

                                                        Post clear signage in your building­—indicating
                                                         staff entryways and exits, stairwells, and
“Every school should have a set                          restrooms—either by leveraging the school safety
 procedure for who makes sure new                        committee, custodial engineer, or by creating
                                                         your own.
 teachers at a school have all the
                                                        Ensure building entryways, exits, and facilities are
 basics covered.”                                        accessible to all employees’ means of mobility.
                     —New Teacher Testimonial           Connect a student ambassador with each new
                                                         hire to provide a tour of the building and explain
                                                         lunch/dismissal routines (make sure to pair the
Ways to Implement:                                       student ambassador with at least one adult staff
                                                         member to confirm what information is being
  Check your school handbook to ensure it
                                                         shared).
   includes the following:
                                                        Conduct a community walk-through with new
     Contact information for administrators,
                                                         hires.
      mentors, department heads, and the payroll
      secretary                                         If applicable, discuss with new hires how to
     Bell schedule with hallway, lunch, and             manage setting classroom expectations when
      dismissal protocols                                sharing a room with another teacher.
     Staff arrival and dismissal protocol
                                                                                                            35
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 38 of 50 PageID #: 840

Inclusive Teacher Recruitment & Hiring Toolkit



           Support Pedagogical                       Ways to Implement:
           Growth                                     Ensure teachers register for New Teacher Week
                                                       (NTW) by the deadline (all teachers are required
                                                       to attend).
  Goal: Support the professional success of all
  new hires by connecting them to supports in your    Encourage teachers to register for I Teach NYC.
  building and other educator communities
                                                      Share New Teacher Toolkit with teachers.
  Who Should Be Involved: Principal, Assistant        Train new hires in school-specific grading and
  Principal(s), Grade/Subject/Certification Area       attendance systems.
  Team Leaders and other teacher leaders, IEP
  coordinator                                         Support teachers in accessing external
                                                       professional development differentiated to their
  Guiding Questions:                                   needs, such as:
    Have I introduced the new hires to their
                                                          Learning communities for diverse teachers,
     grade/subject/certification area planning
                                                           such as Center for Black Educator
     teams?
                                                           Development, the Institute for Teachers of
    Can all teachers access shared resources              Color Committed to Racial Justice, and NYC
     for their department, such as lesson                  Men Teach
     planning resources, assessment guidelines,           Instructional support for teachers of
     and curriculum? Have I connected new                  multilingual learners and students with IEPs,
     hires to school- or department-wide email             such as the Multilingual Learners Infohub page
     threads and meeting invites that support              and Special Education Infohub page
     collaboration?
                                                          Webinars that support differentiating
    Have I communicated our school’s essential            instruction for diverse student needs, found
     practices and focus skills to all teachers?           on the Special Education Office’s Professional
     Are they equipped with actionable steps to            Learning page.
     implement these practices?                           Note: Empower teachers to take ownership of
                                                           their development by choosing additional PD
    Have I connected new teachers to
                                                           opportunities aligned to self-identified growth
     professional development opportunities,
                                                           areas. Use this link to WeTeachNYC for a
     including the mandated New Teacher Week?
                                                           library for of PD resources.
     Have they registered successfully by the
     deadline?                                        Consider research-based PD methods that
                                                       respond to the needs and strengths of diverse
                                                       teachers. These hold all teachers accountable for
                                                       ongoing learning1:

“The program I am affiliated with—                        Critical racial literacy development
                                                          Racial affinity groups
 NYC Men Teach—has done a great
                                                          Teacher-led learning
 job in keeping me motivated to
 continue teaching.”
                                                      1. Travis J. Bristol, Conra D. Gist, and Rita Kohli, “Effective Supports
                     —New Teacher Testimonial         for Teachers of Color and Indigenous Teachers” (September 16,
                                                      2021). Available at: https://kappanonline.org/effective-supports-for-
                                                      bipoc-teachers-gist-bristol-kohli/


                                                                                                                            36
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 39 of 50 PageID #: 841

Inclusive Teacher Recruitment & Hiring Toolkit


  Host PD on personalizing instructional materials                Allow teachers time to take school- or central-
   for your school:                                                 hosted professional development training offered
                                                                    before, during and/or after school.
     On building bridges with your students,
      families, and caretakers                                     Get creative! Consider scheduling Zoom calls
     On your instructional model, with an emphasis                 facilitated by master teachers in topics such
      on getting staff to share lesson planning tips                as lesson ideas, self-care and classroom
      and collaboratively unpacking assessment                      management strategies.
      design
     On reviewing student work, to help weave the
      new hire into the community and reinforce                                      Survey Says
      expectations for student communication
                                                                     The NYC DOE New Teacher Survey shows
     On other strategies that are specific and
                                                                     that teachers are seeking more support
      relevant to your school environment
                                                                     in assessment building and effective
  Offer opportunities for the new hire to view                      communication with students, families, and
   experienced instruction:                                          caregivers.
     Support intervisitation by building a temporary
      staggered schedule for release time so the
      new hire can observe their mentor and other
      teachers’ classrooms and receive intervisits
     If a staggered schedule is not possible,
      coordinate planning periods to allow for
      intervisitation
     Access the Collaborative Learning Through
      Peer Inter-visitations Toolkit for research-
      based strategies and templates to support
      implementation
  Schedule instructional goal setting meetings
   with new teachers and follow up with purely
   descriptive non-judgmental observations:

     Pending consent of the new teacher, include
      their mentor in debrief conversations and
      follow-up




Resources for Professional Development Responsive to the Needs of Diverse Teachers:
  The Center for Black Educator Development provides              Learning for Justice offers classroom resources and
   academies, workshops, and resources to support                   professional opportunities that support dismantling
   equity in the recruiting, training, hiring, and retention of     bias and strengthen intersectional movements. Their
   Black educators.                                                 work focuses on the following: Culture and Climate,
                                                                    Curriculum and Instruction, Leadership, and Family
                                                                    and Community Engagement.




                                                                                                                          37
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 40 of 50 PageID #: 842

Inclusive Teacher Recruitment & Hiring Toolkit



           Support Pedagogical                           Host PD on conducting IEP meetings, writing
                                                          IEPS, and applying their requirements to
           Growth: Students in                            classroom instruction.
           Special Populations
           (SwD/MLL)                                     Connect new hires to SESIS training.

                                                         Ensure new teachers know where and how to
                                                          sign up for PDs, and how to find help with writing
  Goal: Ensure responsive, quality instruction
                                                          IEPs.
  for all learners by connecting new hires to PD
  opportunities and support structures                   Share what your school does to support SwD
                                                          and MLL students at large, and where to find
  Who Should Be Involved: Principal, Assistant
                                                          curriculum support.
  Principal(s), Grade/Subject Team Leaders and
  other teacher leaders, IEP coordinator                 Provide new hires with guidance for effective
                                                          communication with student families and
  Guiding Questions:                                      caregivers.
    Have I connected new hires with teacher
                                                         Provide a process for teachers to follow in the
     leaders and provided resources to support
                                                          event they need an interpreter for a parent
     responsive instruction for multilingual learners
                                                          conference.
     and students with IEPs?
                                                         Ask teacher leaders to walk new hires through
    Have I supported the SwD in creating and
                                                          Instructional support resources for teachers of
     implementing a support plan for new hires,
                                                          multilingual learners and students with IEPs, such
     including PD sessions on the IEP process?
                                                          as the Multilingual Learners Infohub page and
    Have I provided new hires with strategies and        Special Education Infohub page.
     processes for effective communication with
                                                         Encourage new hires to register for webinars
     families and caregivers?
                                                          that support differentiating instruction for diverse
                                                          student needs, such as offerings from the Special
                                                          Education Office’s Professional Learning page.

                                                         Plan structures to support classroom
“The IEP process for our school was                       intervisitation among new hires, model

 not explained, which left me confused                    teachers, and mentors to support differentiated
                                                          instructional delivery, implementing
 and piled with work.”                                    accommodations and modifications, and
                                                          classroom management strategies.
                     —New Teacher Testimonial
                                                         Check in with mentors and mentees to discuss
                                                          professional goals and monitor their progress.

Ways to Implement:
  Meet with your SwD coordinator and co-
   create a support plan for making sure new
   hires understand their schedule, discipline
   procedures, IEP calendars, and any legal or
   mandated requirements for instruction and family
   communication.


                                                                                                            38
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 41 of 50 PageID #: 843

Inclusive Teacher Recruitment & Hiring Toolkit



           Implement a Strong                            Guiding Questions, Continued:
           Mentorship Program
                                                           What expectations around classroom
                                                            visits, modeling, co-teaching, debriefs, and
  Goal: All new (first year) teachers are required          assessment review am I giving?
  to receive mentoring. Use the City’s mentoring           How am I getting feedback on whether this is
  program as a jumping off point to inclusively bring       a successful pairing? What recourse do my
  new teachers into your community, considering             mentees have if the mentor I assigned is not
  their intersectional identities to build trust and        supporting their needs?
  understanding when assigning mentors
                                                           While maintaining mentor-mentee
  Who Should Be Involved: Principal, New Teacher            confidentiality, how am I engaging both the
  Induction Committee, Mentors, Teachers                    mentee and mentor to ensure alignment of
                                                            expectations?
  Guiding Questions:
    Have I assigned an in-building mentor to all
     new teachers?

    Have I established and engaged my New                  “Having a mentor is very important...
     Teacher Induction Committee (NTIC)
     regarding mentor selection?                            They provide everything from physical
    What structures am I putting in place to                support in helping to arrange the
     support a fruitful mentoring relationship?
                                                             classroom to guidance grounded in
      Am I building teaching schedules to
       facilitate mentor meetings?                           their own experiences.”
      Am I budgeting money for participants to                                  —New Teacher Testimonial
       support the additional time this takes?
      Am I matching new teachers and potential
       mentors around qualities they believe            Ways to Implement:
       would support a strong partnership?
                                                         Form a New Teacher Induction Committee
    Have I gotten input from new teachers on what        (NTIC)—comprised of the UFT chapter leader,
     they think makes a strong match, including the       teachers and other community members, such
     full range of identity and commonalities such        as instructional support staff, students, and
     as shared interests, identity markers like age,      caregivers—and engage the NTIC to create
     race, gender, and culture, and professional          a new teacher mentoring plan for first year
     qualities like experience and the subject/grade      teachers.
     level being taught?
                                                         Push the NTIC to consider the following when
    Has the NTIC responded to new teacher input          selecting mentors:
     when advising mentor matches?
                                                           Capacity to engage mentees in conversations
    What type of curriculum am I giving my                 that focus on culturally responsive and
     mentors? Have I shared the expectation that            sustainable practices
     mentors become certified in Mentoring for             Ability to support routines that are inclusive of
     Equity through the DOE’s Citywide Mentoring            marginalized identities, such as race, gender,
     certification course?                                  home language, and neurodivergence

                                                                                                           39
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 42 of 50 PageID #: 844

Inclusive Teacher Recruitment & Hiring Toolkit


     Possess content expertise that is related to the      relies on. If the new teacher was hired through
      roles of mentees                                      a non-traditional pathway, remind them of
  Require certification in Mentoring for Equity and        opportunities to seek additional support through
   support completion.                                      their alternative certification program.

  Ensure all mentors have a pacing calendar for
   the school year to support mentee’s instruction,               Inclusion through Mentorship
   including opportunities for mentee and mentors
   to connect well before the first day of classes.         When pairing mentors with mentees,
                                                            considering intersectional identity is a key
  Prompt mentors to share instructional resources,         step to cultivating an inclusive, welcoming
   such as department resource drives, curriculum           environment. Go beyond subject area and
   maps, textbooks, lesson planning resources, and          grade to consider how characteristics such
   assessment guidelines.                                   as age, culture, race, and recency to the
                                                            profession can bond people. Ask for input
  Jumpstart the relationship by providing a
                                                            from mentees about what qualities and
   list of potential support offerings that can be
                                                            points of connection can support a fruitful
   customized according to needs identified by
                                                            mentoring relationship.
   the mentor and mentee. Consider the following
   examples when creating your list:
     Mentor greets mentee during the first period of
      their first day to assist with attendance
     Mentor models instruction and offers to co-             NYC DOE Mentorship Programming
      teach a class as a next step                                  Guidance and Tools
     Mentor opens their classroom to the mentee,
                                                               The NYCDOE New Teacher Mentoring
      and/or connects them to other teachers
                                                                website
  Build a structure for mentees to offer feedback
   about mentoring, including options to be                    New Teacher Instructional Mentoring
   partnered with a new mentor if their needs are               Guide for Principals
   not being met.                                              New Teacher Induction Committee
  Plan low-stakes group check-in meetings with                 Handbook
   administrators and new hires to strengthen                  Mentoring Tracking System
   connections and build trust.
                                                               The United Federation of Teachers
  Mentors are an excellent support group but                   mentors page
   should not be the sole person a new teacher



External Resources to Support Mentorship Programming
  The New Teacher Center’s High Quality Mentoring        Edutopia’s 3 Strategies for Productive Teacher
   & Instructional Coaching Practices offer guidance       Mentoring provide tips for building collaborative
   for developing an effective mentorship program that     structures that foster reciprocal learning between
   supports professional development and advances          mentor and mentee.
   student learning.
                                                          The New Teacher Center’s article about building trust
                                                           shares a powerful example of how intentional listening
                                                           can transform mentor relationships.


                                                                                                                40
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 43 of 50 PageID #: 845

Inclusive Teacher Recruitment & Hiring Toolkit



           Welcome into the                               process. Allow student tour guides to show
                                                          off their neighborhood, including lunch spots,
           Community                                      train access points, parks, and community
                                                          highlights.
  Goal: Help new hires feel at home in a new            A scavenger hunt to interact with local
  environment                                            businesses
                                                        A “speed networking” event at a staff meeting
  Who Should Be Involved: School staff, students,
                                                         for new hires to ask questions
  families, and caregivers
                                                      Give an overview of your school, sharing your
  Guiding Questions:                                   mission, goals, demographic data and support
    How am I involving students in onboarding to      services. This should include expectations
     help welcome new teachers?                        for professional development, teacher teams,
                                                       teaching observation processes, and evaluation.
    How am I providing opportunities for teachers
     to engage with the community?                    Invite teachers to tour the school and visit
                                                       classrooms, then set up a structured debrief
    How am I teaching new hires about our             of their visits to underscore key routines and
     community values? How am I building a             community expectations.
     school culture that embodies these values?
                                                      Create a “Community Guide”—built by the NTIC,
                                                       students, and families—that offers:
                                                        A list of restaurants for lunch with directions
                                                        Building protocols for arrival/lunch/dismissal
“As educators, we understand the                        “First week” tips and testimonials from
 value of a growth mindset, and should                   students and teachers

 understand that adults—just like                       A sample daily routine
                                                      Conduct a neighborhood walk-through with new
 our students—flourish when we are                     hires.
 encouraged to build on who we are
 and feel valued as unique individuals.”
                     —New Teacher Testimonial


Ways to Implement:
  Build ice breakers into professional learning
   events and team meetings to help new staff get
   to know each other and their community.

  Hold school-based welcome events such as:
     A “Welcome Back BBQ” to build interpersonal
      relationships
     A tour of the neighborhood. This is a great
      chance to have students join the onboarding

                                                                                                           41
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 44 of 50 PageID #: 846

Inclusive Teacher Recruitment & Hiring Toolkit



           Care for Social-emotional                 Ways to Implement:
           Well-being                                 Administer your own school-specific new teacher
                                                       survey to assess the needs and wants of new
                                                       teachers.
  Goal: Create structures and spaces to humanize
                                                      Check in with new teachers in-person and create
  the teaching experience
                                                       a welcoming environment for them to share their
                                                       thoughts and feelings.
  Who Should Be Involved: Principal, NTIC,
  Mentors, New Teachers, Students                     Create opportunities for teachers to share stories
                                                       about their first year, be vulnerable about their
  Guiding Questions:
                                                       practice, and create bonds, consider:
    Have I reserved time for teachers to set up
                                                        Encourage teachers to invite new hires for to
     their classroom and independently plan? How
                                                         sit with them for lunch, potentially structuring a
     can mentors support classroom setup?
                                                         “buddy” system
    How am I providing opportunities for mentors     Create an environment where it is safe to fail
     to check-in with mentees and build personal       occasionally and mistakes are an opportunity
     connections?                                      for learning—because everyone at your school
    How am I creating an environment that feels       understands that perfection is impossible.
     safe and welcoming for all identities and        Uplift the successes of new teachers, offering
     experience levels?                                positive feedback outside of formal observations.
      Are there opportunities for authentic
                                                      Connect services for student social-emotional
       sharing and storytelling? How can I open
                                                       wellbeing to the staff, such as mindfulness
       space for my experienced staff to share
                                                       moments or group yoga.
       “first-year” stories with new hires?
                                                      Offer affinity spaces, or provide access to affinity
      Are there opportunities for connecting with
                                                       spaces outside of the school, such as NYC Men
       affinity groups?
                                                       Teach, for teachers to share their experiences
                                                       with affinity groups.

                                                      Keep email communications to a minimum as
                                                       teachers are receiving emails from both their
                                                       school and central offices.
“I wish I would receive information
                                                      Dedicate time for setting up the classroom:
 letting me know when I do something
                                                        Make sure additional activities like social hours
 good outside of an observation. I work                  or PD do not overwhelm the teacher, but are
 really hard to go above and beyond                      supports around the core work of establishing
                                                         their own classroom and instructional style
 but that doesn’t seem to matter to                     Consider housing a shared resource bank with
 anyone.”                                                classroom supplies
                                                        Instruct mentors and/or NTIC members to
                     —New Teacher Testimonial            thought partner with new teachers about
                                                         how the classroom set up supports student
                                                         learning


                                                                                                         42
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 45 of 50 PageID #: 847

Inclusive Teacher Recruitment & Hiring Toolkit



           Support Mid-Year                           Ways to Implement:
           Hires                                       Provide mid-year hires with the same support
                                                        you gave teachers who started at the start of the
                                                        school year, including:
  Goal: Provide responsive support and an                Time to connect with administrators
  inclusive environment to all new hires regardless
                                                         Meetings to discuss professional goals, and
  of their start date
                                                          observation and feedback process to support
  Who Should Be Involved: Principal, Assistant            them
  Principal(s), NTIC, Mentors, New Teachers,             An opportunity to share input about what
  Students, Grade/Subject Team Leaders and other          qualities and points of connection they believe
  teacher leaders, IEP coordinator                        would contribute to a positive mentoring
                                                          experience
  Guiding Questions:
                                                         Guidance on attendance and gradebook
    Have I shared curriculum guidance and model
                                                          systems
     lesson plans to support a smooth transition
     into the role?                                      Connections to professional learning
                                                          communities for diverse teachers, such as
    Have I connected the new hire(s) with their          Center for Black Educator Development, the
     subject/grade level teams?                           Institute for Teachers of Color Committed to
                                                          Racial Justice and NYC Men Teach
    Have I consulted the NTIC to match the new
     hire with a mentor?                               Share New Teacher Week resources.

    Have I dedicated time for the new hire to         Orient to required and optional NTW sessions
     connect with administrators and teachers?          and resources.

    Have I dedicated time for classroom setup?        Connect with subject/grade level team leads to
                                                        hold an instructional support meeting that:
                                                         Gives an overview of what instruction the new
                                                          hire’s students have received so far

“Since I started midway through the                      Provides curriculum resources and
                                                          instructional pacing guides
 year, I felt as though I was not given                  Holds space for the new hire to ask questions
 the support to fully comprehend                          and explain any concerns or needs

 the scope of my role. I also did not                  Provide teachers with link to WeTeachNYC and I
                                                        TeachNYC for banks of professional development
 receive support or instruction on                      resources.

 all the technology we need, such as                   Share your updated school handbook and
                                                        prepare your NTIC to welcome the new hires.
 access to different websites and tools,
                                                       Conduct a school building and neighborhood
 and how to sign up for the union.”                     walkthrough to help welcome them into the
                     —New Teacher Testimonial           community.




                                                                                                         43
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 46 of 50 PageID #: 848

Inclusive Teacher Recruitment & Hiring Toolkit


Template C                                                Click here to download and customize to your needs*
Sample Onboarding Timeline

     Immediately after hiring
    If the new hire is a first year teacher, form the NTIC to advise mentor selection and post the mentoring
     position with staff
    Provide new hire(s) with access instructions for the employee portal, email, benefits, the TDA retirement
     program, and payroll documents
    Send a personal welcome email to each new hire
    Send pertinent dates for school welcome events and orientation
    Send calendar holds for New Teacher Week and advise new teachers when to register
    Prompt mentors to send a welcome email to new teachers that includes instructional support contacts
     and resources (i.e., district pacing guides, standards, log in instructions for e-books, email address for
     instructional coach and/or department head)


     1 week before classes start
    Introduce mentors and mentees
       Schedule a welcome meeting with all mentors/mentees to:
          Share goals of the program
          Create first opportunity for interpersonal connection
    Hold an all-staff meeting to communicate your school’s essential practices and focus skills
       Introduce new hires
       Share a story from your teaching days
    Connect new hires with PD opportunities, such as:
      New Teacher Week (mandatory, ensure teachers are registered)
      ITeachNYC
      In-house PD on assessment building and student/family/caregiver communication strategies
      In-house PD where experienced teachers model delivering a lesson for new teachers
      UFT Teacher Center
      In-building Instructional Coaches
      Model teachers and peer collaborators
    Hold a social hour and lunch hour to build community
    Dedicate time for classroom set up
    Connect new hires with a student ambassador for a school tour and building procedure overview
    Dedicate a meeting time for the UFT chapter leader to meet with new hires

                                                                                          Continued on next page




                                                                                                                  44
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 47 of 50 PageID #: 849

Inclusive Teacher Recruitment & Hiring Toolkit



Template C
Sample Onboarding Timeline, Continued

     First week of teaching
    Provide mentors with a suggested schedule of touchpoints, but remind them to align them with their
     mentee’s needs. Suggested touchpoints could include:
     1st period of 1st day teaching
      After last bell on their 1st day teaching
      One lunch period
      End of first week
      One planning period
    Remind mentors to utilize tools from mentoring certification to support conversations
    Check-in with new hires to ensure they can access all instructional materials, including resource drives
     and templates
    Create a clear time for check-ins to avoid surprise observations
    Ask student volunteers to greet teachers at school entrances during arrival and dismissal


     First month of teaching
    Ensure instructional support meetings are taking place with all new teachers to set meaningful goals and
     address needs
    Informally observe classroom instruction of all new teachers
    Debrief observations with teachers in a timely manner and provide constructive feedback


     Ongoing
    Schedule monthly check-in meetings with mentors and mentees to ask for feedback on program, e.g.:
      To all: Are you finding sufficient time to connect? How can I support you?
      To mentors: What professional goals are you working on with your mentee?
      To mentors: What might I look for in your mentee’s classroom to support these goals?
      To mentees: What professional goals are you working on? Do you feel empowered to make progress,
       or do you need additional support?
    Collect survey or in-person feedback from mentees about mentorship program
    Respond to feedback from mentees, reassigning mentors if needed
    Intentionally balance meeting time and planning time
    Consider bandwidth of new teachers and mentors
    Allocate budget for mentors and New Teacher Induction Committee where possible
    Recognize student ambassadors and volunteers for their leadership
    Consider ways to support reciprocal teaching from mentee to mentor
      E.g., you may notice a new teacher using technology in a robust way or trying an effective engagement
       strategy. Uplift these successes and provide opportunities for new teachers to share their skills.
    Plan how to sustain mentor relationships beyond the first year of teaching

                                                                                                                45
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 48 of 50 PageID #: 850

Inclusive Teacher Recruitment & Hiring Toolkit


Template D                                                Click here to download and customize to your needs*
New Teacher Welcome Letter



Good morning new teachers,

On behalf of the [insert school name] community, welcome and congratulations on your new role! We look
forward to working together to provide the best possible environment for students and staff alike. Over the
next few weeks, you will receive communications about HR-related procedures, district-sponsored orientation,
and school-building professional development opportunities. Knowing that all this information can become
overwhelming, please reference the checklist below as you begin onboarding. Many of the items require a DOE
login. Please reach out to me, Principal [insert name] at [insert email address], if you need support accessing
your DOE email or credentials.

 1. Register for DOE New Teacher Week by [____].
 2. Review the Human Resource Roadmap. The HR Roadmap is a step-by-step guide to all HR items and
    steps you will need to complete as a new DOE employee. Ensure you review the guidance on this page and
    ask any related questions early in your onboarding process.
 3. Submit Your Vaccination Information. As of September 12, 2021, all DOE staff are required to provide
    proof of COVID-19 vaccination. You must submit proof of vaccination using the NYC DOE’s Vaccination
    Portal.
    For more information and updates, visit the COVID-19 Vaccination Portal page on the NYC DOE Info Hub.
    For more information about where to get vaccinated, visit vaccinefinder.nyc.gov or call 877-VAX-4-NYC.
    For more information on where to get tested, visit https://www.nychealthandhospitals.org/covid-19-
     testing-sites/.
 4. Schedule a 1:1 check-in meeting with our payroll secretary. [Insert name, contact information, and
    guidance for scheduling their first meeting]
 5. Attend school building orientation. [Insert details on dates, times, and focus area of any school-specific
    training and orientation events]
 6. Look for email communication about mentoring and follow included steps. If you are a first year teacher,
    expect to be assigned an in-building mentor that will support your professional development and induction
    into our community over the next year. [Add school-specific information relevant to your mentorship plan]
 7. Set up your classroom. [Add guidance about when and how teachers can set up their classroom, including
    ways to connect with the NTIC for support and places in the building they can find extra classroom materials.]
 8. Join us for our Welcome Back BBQ! [Add details about your school welcome event]
We are grateful for your commitment to our community and look forward to seeing you in the building soon!

In partnership,

Principal __________

[Add relevant school motto and/or mascot]




                                                                                                                  46
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 49 of 50 PageID #: 851

Inclusive Teacher Recruitment & Hiring Toolkit


Template E                                                 Click here to download and customize to your needs*
Onboarding Essentials


Note: This table is pre-filled with key steps to address each essential question. After reflecting with your hiring
committee about past onboarding practices and potential gaps, edit this table to align with your school’s needs.


 How are we meeting HR and logistic needs?                  How are we creating a welcoming, inclusive
   1. Provide payroll secretary contact info and            environment?
      support scheduling 1:1 meetings                        1. Host a social school welcome event
   2. Update and share employee handbook                     2. Create low-stakes spaces to share “first year”
   3. Post building signage and ensure facilities are           stories
      accessible for all                                     3. Host differentiated PD that is responsive to
                                                                the needs of diverse teachers, and teachers of
                                                                special populations, such as multilingual learners
                                                                and students with IEPs

 How are we supporting “day one” success?                   How are we laying the foundation for continuous
   1. Connect new hires with subject/grade level            learning?
      teams to access instructional materials and            1. Form NTIC and utilize New Teacher Mentoring
      collaboratively plan                                      resources to create a mentorship program
   2. Ensure teachers register for New Teacher Week          2. Understand new hires’ professional goals and
   3. Dedicate time for classroom set up                        structure observations, debriefs, and peer inter-
                                                                visitations to support progress
                                                             3. Connect new hires with external professional
                                                                learning communities, such as the Center for
                                                                Black Educator Development and the Institute for
                                                                Teachers of Color Committed to Racial Justice.




                                                                                                                 47
   Case 1:23-cv-06756-HG Document 37-2 Filed 01/26/24 Page 50 of 50 PageID #: 852

Inclusive Teacher Recruitment & Hiring Toolkit



Additional Resources

Don’t go it alone! There are many resources available to assist you in this process.


External Resources
  Chancellor’s Regulation A-830, DOE’s Anti-Discrimination Policy and Procedures for Filing Internal
   Complaints of Discrimination, provides a list of protected class definitions and EEO legal resources.

  United States Office of Personnel Management OPM Structured Interviews: A Practical Guide


Internal Resources
  H.I.R.E. Connections Home Page (includes this resource and relevant policy)

  Customizable Sample Structured Interview Individual Rating Form

  Customizable Structured Interview Group Rating Form


Training Opportunities
  Implicit Bias Awareness Workshops: Over the past three years, over 70,000 NYC educators have attended
   the Implicit Bias Awareness foundational workshop.

    Click for more information on how you and your hiring committee can sign up.

For questions related to this guide and to learn more about relevant training opportunities, visit the Inclusive
Teacher Recruitment & Hiring Initiative homepage or email support@nycdoetrq.zendesk.com.

If you have questions regarding DOE’s Non-Discrimination Policy or Chancellor’s Regulation A-830, please
contact the Office of Equal Opportunity & Diversity Management (“OEO”) at OEODiversity@schools.nyc.gov.



Thank you for taking your valuable time to use this guide!




                                                                                                                   48
